                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 COVIL CORPORATION, by and through
 its duly appointed receiver, Peter D.
 Protopapas,
                                                                 1:18-CV-932
                             Plaintiff,
                      v.
 USF&G COMPANY,

                             Defendant.



                                          ORDER

       Before the Court is Covil Corporation’s Motion to Amend Docket and Caption, by

and through its duly appointed Receiver Peter D. Protopapas. Doc. 384. Upon

consideration of the good cause shown, the Court GRANTS the Motion to Amend

Docket and Caption to remove Zurich American Insurance Company from the style of

this case. Going forward, the parties shall use the caption format used in this order.

       IT IS SO ORDERED.

       This 10th day of March, 2021.




                                                   UNITED STATES DISTRICT JUDGE




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